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   4
     Entered on Docket
    5November 22, 2021
___________________________________________________________________
   6
   7 Jeffrey L. Hartman, Esq.           Michael S. Budwick, Esq. #938777 – Admitted Pro Hac Vice
     Nevada Bar No. 1607                Solomon B. Genet, Esq. #617911 – Admitted Pro Hac Vice
   8 HARTMAN & HARTMAN                  Gil Ben-Ezra, Esq. #118089 – Admitted Pro Hac Vice
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  13                                    sgenet@melandbudwick.com
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  14
     Attorneys for Christina W. Lovato, Chapter 7 Trustee
  15
                              UNITED STATES BANKRUPTCY COURT
  16                                    DISTRICT OF NEVADA

  17   In re                                        Lead Case No.: BK-19-50102-gs
                                                    (Chapter 7)
  18
       DOUBLE JUMP, INC.
  19                                                Substantively consolidated with:
                 Debtor.
  20                                                   19-50130-gs   DC Solar Solutions, Inc.
       Affects:                                        19-50131-gs   DC Solar Distribution, Inc.
  21   ☒ DC Solar Solutions, Inc.
                                                       19-50135-gs   DC Solar Freedom, Inc.
  22   ☒ DC Solar Distribution, Inc.
       ☒ DC Solar Freedom, Inc.
  23   ☒ Double Jump, Inc.
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 1                                                       Adversary No.: 21-05014-gs
     CHRISTINA W. LOVATO,
 2                                  ORDER GRANTING MOTION TO
                Plaintiff,
 3                                  APPROVE COMPROMISE AND
                                    SETTLEMENT AGREEMENT WITH
 4   v.
                                    NULEAF CAPITAL INVESTORS GROUP,
                                    LLC AND AWARD OF CONTINGENCY
 5   NULEAF CAPITAL INVESTORS GROUP
                                    FEE [Adv. ECF No. 32]
     LLC,
 6
 7            Defendant.                                 Hearing Date: October 28, 2021
                                                         Hearing Time: 2:00 P.M.
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 9
            The matter came before the Court on the Motion (“Motion”) by Christina Lovato, the duly
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     appointed and acting trustee (“Trustee”) for the substantively consolidated chapter 7 estates of DC
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     Solar Solutions, Inc., DC Solar Distribution, Inc., DC Solar Freedom, Inc., and Double Jump, Inc.
12
     (together, the “Estate”), for an Order Approving Compromise And Settlement Agreement with
13
     NuLeaf Capital Investors Group, LLC (“NuLeaf”) and for Award of Contingency Fee.
14
            In accordance with District Court Administrative Order 2020-14, hearing on the matter was
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     conducted by telephone. Appearance were made behalf of the Trustee by Solomon B. Genet, Esq.
16
     and on behalf of NuLeaf by Ogonna Brown, Esq. Any other appearances were noted on the record.
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            The Court has considered the presentations of counsel and based upon the entire record,
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     stated its findings of fact and conclusions of law on the record as permitted by F.R.C.P. 52, made
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     applicable to this proceeding by F.R.B.P. 9014(c) and 7052. The Court also makes the following
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     specific findings of fact and conclusions of law:
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            1. Notice of hearing on the Trustee’s Motion was proper and in accordance with applicable
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     rules. Certificate of Service [Adv. ECF No. 36].
23
            2. Based upon the entire record, the Court finds and concludes that (A) Trustee Lovato’s
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     request for approval of the Settlement Agreement (defined below) represents the exercise of her
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     sound, properly informed, business judgment; and (B) the Settlement Agreement is in the best
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     interests of the Estate and satisfies the requirements of F.R.B.P. 9019.
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            3. The Court also finds and concludes that the Settlement Agreement satisfies the factors
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     as set forth in In re A&C Properties, Inc., 784 F. 2d 1377, 1381 (9th Cir. 1986), cert. denied, 479

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 1   U.S. 854 (1986).
 2          Accordingly, and good cause appearing
 3          IT IS ORDERED that the Trustee’s Motion is granted in its entirety; and
 4          IT IS FURTHER ORDERED that all the terms and conditions included in the Settlement
 5   Agreement between the Trustee and NuLeaf (“Settlement Agreement”), in the form attached as
 6   Exhibit 1 to the Notice of Amended Exhibit “1” [Main Case ECF No. 2958], are APPROVED
 7   and the Trustee is authorized and directed to enter into, to be bound by, and to carry out the
 8   transactions contemplated by the Settlement Agreement; and
 9          IT IS FURTHER ORDERED that Meland Budwick, P.A., as special litigation counsel,
10   be awarded a 25% contingency fee equal to $57,500.00 at the time the Trustee receives the
11   Settlement Consideration (as defined in the Settlement Agreement), without the need for further
12   Court Order; and
13          IT IS FINALLY ORDERED that the Trustee be, and hereby is authorized to execute any
14   additional documentation as may be required to implement the terms of the Settlement Agreement.
15
16   Respectfully submitted by:
17   HARTMAN & HARTMAN
18   /s/ Jeffrey L. Hartman
     Jeffrey L. Hartman, Esq., Attorney for Trustee
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     MELAND BUDWICK, P.A.
21
     /s/ Solomon B. Genet
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     Solomon B. Genet, Esq., Attorney for Trustee
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 1                            ALTERNATIVE METHOD Re: RULE 9021
 2   In accordance with Local Rule 9021, counsel submitting this document certifies that the order
 3   accurately reflects the court’s ruling and that (check one):

 4   ____ The court has waived the requirement set forth in LC 9021(b)(1).
 5   ___ No party appeared at the hearing or filed an objection to the paper.
 6
     __X_ I have delivered a copy of the proposed order to all counsel who appeared at the hearing,
 7       any trustee appointed in this case and any unrepresented parties who appeared at the hearing,
         and each has approved or disapproved the order, or failed to respond as indicated below.
 8
 9   Trustee’s Counsel:

10   __ X_ Prepared / Approved the form of this order
11
     ____ Waived the right to review the order and/or
12
     ____ Appeared at the hearing, waived the right to review the order
13
     ____ Matter unopposed, did not appear at the hearing, waived the right to review the order
14
15   ____ Disapproved the form of this order

16   ____ Did not respond to the paper
17
     U.S. Trustee:
18
     ____ Approved the form of this order
19
20   ____ Disapproved the form of this order

21   ____ Waived the right to review the order and/or
22   ____ Did not respond to the paper
23
     __ X_ Did not appear at the hearing or object to the paper
24
     ____ I certify that this is a case under Chapter 7 or 13, that I have served a copy of this order with
25        the motion pursuant to LR 9014(g), and that no party has objected to the form or content of
26        the order.

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 1   I declare under penalty of perjury that the foregoing is true and correct.
 2   Submitted by:
 3   HARTMAN & HARTMAN

 4   /s/ Jeffrey L. Hartman
     Jeffrey L. Hartman, Esq., Attorney for Plaintiff
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 6   MELAND BUDWICK, P.A.

 7   /s/ Solomon B. Genet
     Solomon B. Genet, Esq., Attorney for Plaintiff
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